         Case 22-60043 Document 226 Filed in TXSB on 10/11/22 Page 1 of 3




                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

IN RE:                                   §
                                         §            Case No. 22-60043
FREE SPEECH SYSTEMS, LLC,                §
                                         §            Chapter 11 (Subchapter V)
      Debtor.                            §

   SANDY HOOK FAMILIES’ JOINDER TO UNITED STATES TRUSTEE’S
            OMNIBUS OBJECTION TO THE MOTIONS OF
          SHANNON & LEE LLP AND W. MARC SCHWARTZ
      FOR REHEARING ON THE ISSUE OF DISINTERESTEDNESS
              [Related to ECF Nos. 206, 207 and 223]

      Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel

Fontaine (collectively, the Texas Plaintiffs) and David Wheeler, Francine Wheeler,

Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna

Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William

Sherlach, and Robert Parker (collectively, the Connecticut Plaintiffs) (and together with

the Texas Plaintiffs, the Sandy Hook Families) hereby file this joinder (Joinder) to the

United States Trustee’s Omnibus Objection to the Motions of Shannon & Lee LLP and

W. Marc Schwartz for Rehearing on the Issue of Disinterestedness (the Objection)

[Dkt. 223], filed in response to: (i) Shannon & Lee LLP’s Motion Pursuant to Rule 59 of

the Federal Rules of Civil Procedure for Rehearing on the Issue of Disinterestedness with

Respect to the Debtor’s Application to Employ Shannon & Lee LLP [Dkt. 206] and

(ii) Motion of W. Marc Schwartz and Schwartz Associates, LLC Pursuant to Rule 59 of

the Federal Rules of Civil Procedure for Rehearing on the Issue of Disinterestedness with

Respect to the Debtor’s Application to Employ W. Marc Schwartz and Schwartz

Associates, LLC [Dkt. 207] (collectively, the Motions to Reconsider). In support of this

Joinder, the Sandy Hook Families state as follows:



JOINDER TO UST OBJECTION TO MOTIONS TO RECONSIDER—PAGE 1
       Case 22-60043 Document 226 Filed in TXSB on 10/11/22 Page 2 of 3




      1.     The Sandy Hook Families join in, and hereby incorporate by reference, the

arguments made by the United States Trustee in the Objection.

      2.     Shannon & Lee LLP and W. Marc Schwartz filed their Motions to

Reconsider on October 4, 2022.

      3.     The United States Trustee filed the Objection on October 11, 2022.

      4.     For the reasons stated in the Objection and this Joinder, the Sandy Hook

Families respectfully request that the Court deny the Motions to Reconsider and grant

such other and further relief as it may deem just and proper.

      Respectfully submitted this 11th day of October 2022.

                                         MCDOWELL HETHERINGTON LLP

                                         Avi Moshenberg
                                         Texas Bar No. 24083532
                                         1001 Fannin Street, Suite 2700
                                         Houston, Texas 77002
                                         D: 713-337-5580
                                         F: 713-337-8850
                                         E: Avi.Moshenberg@mhllp.com

                                         Counsel for the Texas Plaintiffs

                                         and

                                         CHAMBERLAIN, HRDLICKA, WHITE,
                                            WILLIAMS & AUGHTRY, PC

                                         By: /s/Jarrod B. Martin
                                         Jarrod B. Martin
                                         Texas Bar No. 24070221
                                         1200 Smith Street, Suite 1400
                                         Houston, Texas 77002
                                         D: 713.356.1280
                                         F: 713.658.2553
                                         E: jarrod.martin@chamberlainlaw.com

                                         Bankruptcy Counsel for the Texas
                                         Plaintiffs




JOINDER TO UST OBJECTION TO MOTIONS TO RECONSIDER—PAGE 2
      Case 22-60043 Document 226 Filed in TXSB on 10/11/22 Page 3 of 3




                                       By: /s/ Ryan Chapple
                                       Ryan E. Chapple
                                       State Bar No. 24036354
                                       Email: rchapple@cstrial.com
                                       CAIN & SKARNULIS PLLC
                                       303 Colorado Street, Suite 2850
                                       Austin, Texas 78701
                                       512-477-5000
                                       512-477-5011—Facsimile

                                       and

                                       Randy W. Williams
                                       State Bar No. 21566850
                                       Email: rww@bymanlaw.com
                                       BYMAN & ASSOCIATES PLLC
                                       7924 Broadway, Suite 104
                                       Pearland, Texas 77581
                                       281-884-9262

                                       Bankruptcy Counsel for Connecticut
                                       Plaintiffs


                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Joinder has been
served on counsel for Debtor, Debtor, and all parties receiving or entitled to notice
through CM/ECF on this 11th day of October 2022.


                                             /s/ Ryan E. Chapple
                                       Ryan E. Chapple




JOINDER TO UST OBJECTION TO MOTIONS TO RECONSIDER—PAGE 3
